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                               April 25, 2025

  Clifton B. Cislak, Clerk
  U.S. Court of Appeals for the
    District of Columbia Circuit
  333 Constitution Ave. NW
  Washington, DC 20001

       Re: Sprint Corp. v. FCC, & T-Mobile USA, Inc. v. FCC,
           Nos. 24-1224 & 24-1225

  Dear Mr. Cislak:

        As Sprint and T-Mobile note in their April 18, 2025 letter, a
  Fifth Circuit panel concluded that the FCC’s enforcement
  proceeding leading to a monetary forfeiture order violated another
  carrier’s Seventh Amendment rights. AT&T, Inc. v. FCC, No. 24-
  60223 (5th Cir. Apr. 17, 2025). This Court should not follow that
  decision.

        The FCC’s monetary forfeiture proceedings pose no Seventh
  Amendment problem because Section 504(a) allows carriers to
  demand a de novo jury trial before any penalty must be paid. (FCC
  Br. 29–33.)

        The Fifth Circuit relied in part on its prior holding that “[i]n
  a section 504 trial, a defendant cannot challenge a forfeiture order’s
  legal conclusions.” Slip Op. 19. That conclusion is contrary to
  Capital Traction Co. v. Hof, 174 U.S. 1 (1899), which held that an
  initial tribunal can lawfully enter judgment without a full jury trial
  where a subsequent “trial [anew] by jury, at the request of either
  party” was available. See id. at 4, 37-39, 45-46. And as the Carriers
  concede (Br. 35; see also FCC Br. 31–32), that is not the law in this
  Circuit. See AT&T Corp. v. FCC, 323 F.3d 1081, 1085 (D.C. Cir.
  2003); Pleasant Broad. Co. v. FCC, 564 F.2d 496, 500–03 (D.C. Cir.
  1977). Even if it were, the proper approach would be to challenge
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  that limitation in the trial court and seek to strike the limitation—
  not to vacate the forfeiture order.

        Moreover, while the Fifth Circuit found the Section 504(a)
  process inadequate because forfeiture orders “have real-world
  impacts on carriers,” Slip Op. 18, this Court has held that a party
  “suffering from demonstrably adverse consequences” from a
  forfeiture order “could bring a declaratory judgment action” and
  demand a de novo trial. Pleasant Broadcasting, 584 F.2d at 502;
  Action for Children’s Television v. FCC, 59 F.3d 1249, 1262 (D.C.
  Cir. 1995).

        Thus, even if the Seventh Amendment applied (it does not
  because the forfeiture order involves public rights, not private
  rights with a common-law analogue, see FCC Br. 34–44), it would
  be satisfied here.

                                    Respectfully submitted,
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